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       OMNI HOTELS MANAGEMENT
  8    CORPORATION
  9                                UNITED STATES DISTRICT COURT
 10                             SOUTHERN DISTRICT OF CALIFORNIA
 11
 12    ALLEN HARVEY ABOLAFIA,                    Case No. 19-cv-01923-W-KSC
                                                 Judge: Hon. Thomas J. Whelan
 13                       Plaintiff,
                                                 DECLARATION OF LINDA
 14              v.                              MITCHELL IN OPPOSITION TO
                                                 PLAINTIFF ALLEN HARVEY
 15    OMNI HOTELS MANAGEMENT                    ABOLAFIA’S MOTION FOR
       CORPORATION; and DOES 1 TO                SUMMARY JUDGMENT
 16    20, inclusive,
                                                 Date: July 20, 2020
 17                       Defendants.            Dept.: Courtroom 3C (3rd Floor)
 18
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                                                         DECL. OF LINDA MITCHELL IN OPP’N TO
      61746.00003\33056482.1                   -1-                         MOT. FOR SUMM. J.
                                                                            10-CV-01923-w-ksc
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 1                               DECLARATION OF LINDA L. MITCHELL

 2            1.    My name is Linda L Mitchell and I have been retained as an expert by Matthew L.

 3   Green in the captioned matter. Each of the facts stated herein is stated based on my firsthand

 4   experience. If called as a witness and requested to do so, I would testify to the truth of each fact stated

 5   below.

 6            2.    I am a Forensic Document Examiner in San Diego County, California, certified by the

 7   American Board of Forensic Document Examiners. As a sole practitioner, my work includes all

 8   aspects of questioned document examination. I have completed training in conformance with the

 9   Southwestern Association of Forensic Document Examiners (SWAFDE) Training Guidelines (2006)

10   including training from FBI and Secret Service materials. I have a Bachelor of Science degree in

11   Criminal Justice Administration.

12            3.    My expertise includes a working knowledge of handwriting identification, obliteration

13   and alteration identification and printing processes, including commercial and office printers, copiers,

14   fax machines and typewriters. I also have a working knowledge of computer graphics, manipulation,

15   and design.

16            4.    My current curriculum vitae, attached as Exhibit A hereto, sets forth additional

17   information relating to my qualifications as an expert witness in this matter.

18            5.    I was provided with the inked original membership application entitled; Signature Sport

19   Membership Application, issued by The Club at La Costa. This document contains a signature of Allen

20 Abolafia on page 4, dated January 25, 2007, which is in dispute. I also received original and

21   photocopied comparative documents known to have been signed by Allen Abolafia which are

22   contemporary to the signature in dispute. These documents are attached as Exhibit B.

23            6.    I have been asked to provide an opinion as to whether or not the signature on the

24   questioned document is the true original signature of Allen Abolafia.

25            7.    I conducted a handwriting examination of the questioned signature in keeping with the

26   guidelines set forth by the Scientific Working Group for Forensic Document Examiners (SWGDOC).

27   A copy of these guidelines is attached as Exhibit C.

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                                                  1
                              DECLARATION OF LINDA L. MITCHELL
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 1          8.      My expert opinion is that the signature in question on the membership application is

 2   probably a genuine signature of Allen Abolafia. Stated differently, it is more likely than not that Allen

 3   Abolafia signed the document in question.

 4          9.      The supporting commentary for this opinion is attached as Exhibit D.

 5          10.     I declare under penalty of perjury that the foregoing is true and correct, except as to

 6   those matters stated on information and belief, and as to those matters, I believe them to be true. This

 7   declaration was executed on this 22nd day of June at Escondido, California.

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11                                                         ___________________________________

12                                                         Linda L Mitchell

13                                                         Forensic Document Examiner

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                                                  2
                              DECLARATION OF LINDA L. MITCHELL
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                           CV of Linda L Mitchell




                               Exhibit A                           A-1
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                                                                          4 of 38




      Linda L Mitchell, D-ABFDE
           Mailing Address: 243 S. Escondido Boulevard #550, Escondido, CA 92025-4116 | 888.760.0339
           Lab Address: 260 S. Orange Street #10, Escondido, CA 92025 | 760.310.1279 | forensicqde@gmail.com
           Riverside Office: 7121 Magnolia Avenue, Riverside, CA 92504
           Long Beach Office: 444 W. Ocean Blvd. #813, Long Beach, CA 90802


   Linda Mitchell is a Certified Forensic Document Examiner and Handwriting Expert. The work of a document examiner most often involves the
   identification or authentication of handwriting; but, there are many other aspects of the profession that can be applied to a document in
   question. Deciphering documents containing indented writings, and obliterated content and insertions of additional data are just a few
   examples that can be part of a complex multiple–page document examination. Linda is fully capable of performing all such examinations.


   Linda’s laboratory includes up–to–date equipment and a full library of reference resources. She provides informative presentations about
   most aspects of the field document examination for small or large audiences, and is a competent expert witness confirmed in San Diego,
   Orange County, Los Angeles, Riverside and San Bernardino Superior Court as well as Federal Bankruptcy Court. Her current professional
   research, was published in the Journal of the American Society of Forensic Document Examiners, June 2016, is entitled, A Blind Study of the
   Reliability of Hand Printing Identification by the Forensic Document Examiner. She initiated this study in response to a 2013 ruling by the 7th
   District Court disallowing testimony because of the lack of meaningful research on the subject. Linda is a contributing author to the soon-to-
   be-published textbook, Forensic Document Examination in the 21st Century and has also been selected by the Office of the Secretary of
   State as the Voter Fraud Examiner for the 2016 election year through 2020.

   Ms. Mitchell completed her formal apprenticeship in questioned document examination under the direct supervision of Manny Gonzales,
   who has more than 40 years of professional experience involving most aspects of forensic document examination. (Mr. Gonzales’ CV is
   available upon request.) Her training conformed to SWGDOG.org guidelines and the Southwestern Association of Forensic Document
   Examiners (SWAFDE) Training Guidelines (2006) which included training from FBI and Secret Service materials.


   Education
               1970-73        AA in Dental Hygiene - Cerritos College, Norwalk, CA
               2006-08        BS in Criminal Justice Administration - University of Phoenix, Phoenix, AZ
               2008-11        Internship and Training in Forensic Document Examination - Alliance Forensic Services
   Certification
               2014-now       Diplomate of the American Board of Forensic Document Examiners
   Scope of Practice
               Expert Analysis and Testimony and Consulting for all types of document and handwriting matters
                Probate      Family Law           Personal Investigations
                Fraud        Medical Malpractice  Corporate Investigations
                Civil        Criminal             Private Matters
   Areas of Expertise
               Expert Witness Testimony
               Handwriting and Signature Identification / Authentication
               Development & Deciphering of Indented Writings  Counterfeit Detection
               Analysis of Computer–Generated Documents  Photocopy Manipulations
               Relative Document Dating & Anachronisms  Decipherment of Obliterations
               Non–destructive Ink & Paper Analyses  Typewriting Classification & Identification
               Examination of Altered Documents  Photocopier Classification & Identification
   Memberships
               ABFDE – Diplomate of the American Board of Forensic Document Examiners
               AAFS – American Academy of Forensic Sciences – Questioned Document Section (Fellow, Sec'y)
               ASQDE – American Society of Questioned Document Examiners (Member)
               SWAFDE – Southwestern Association of Forensic Document Examiners (Member)
               RCBA – Riverside County Bar Association (Supporting)
               PASD - Probate Attorneys of San Diego (Supporting)




                                                              Linda L Mitchell, D-ABFDE
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   Other Awards ahd Endeavors
                Recipient of the AAFS 2020 Hilton Award for outstanding contributions to the profession
                California Secretary of State – Voter Fraud Examiner 2016-2020
                Moot Court Training for the San Diego and Riverside County Sheriff Crime Lab Trainees
                US Attorney, Eastern California District Expert
                San Bernardino County Public Defender Designated Expert
                Riverside County Office of the Public Defender Expert
                Fresno County Office of the Public Defender Expert
                Tulare County Office of the District Attorney and Sheriff Dept. Expert

   Publications 2009–Present

     2020       Forensic Document Examination in the 21st Century, contributing author. Pub date TBA (Peer Reviewed)
     2016       The Reliability of the FDE in Identification of Hand Printing, A Blind Study. The Journal of ASQDE, Vol. 19, Number 1, June 2016,
                pp 25-32. (Peer Reviewed)
     2015       Is a Notarized Document Genuine? Syndicated through Ezine @rticles to NBIZ Magazine
     2015       The Forensic Significance of Handwriting Biometrics. Published in Digital Forensics Magazine (co-author Bill Flynn, certified
                forensic document examiner)

   Examined Documents and Conclusions Rendered on Behalf of:

                CA Secretary of State                  Lanak & Hanah – Orange                       James O. Douglass, Esq. – Palm Desert
                United States Attorney's Office        Lurie, Zepeda, Schmalz, Hogan & Martin,      Sheppard, Mullin, Richter & Hampton - Palo
                Eastern District of California         APC - Los Angeles                            Alto

                Riverside County Public Defender       Bonne Bridges et al. – Los Angeles           Robert W. Pederzani, Esq. – Newport Beach
                                                                                                    Burns, Schaldenbrand & Rodriguez –
                Fresno County Public Defender          Musick, Peeler & Garrett – San Francisco
                                                                                                    Oceanside
                CA Dept. of Consumer Affairs           Hueston Hannegan - Los Angeles               Vivoli Sacuzzo, LLP – San Diego

                San Diego Co. District Attorney        Schorr Law – Orange County                   Oceanside Unified School District

                Tulare County Sheriff’s Dept.          Tulare County District Attorney              Anderson and LeBlanc - Upland


   Presentations 2009–Present
     General Forensic Document Examiner Information

            • LSI (Legal Secretaries Inc.) Quarterly Conference, Palm Springs, CA

                Lake University, Guest Lecturer for Criminalistics Class Camp Pendleton, CA. (Marine Gunner, Vincent H. Kyzer,
            •
                instructor)

            • ACFI (Assoc. of Certified Fraud Investigators) (2 MCLE units) Orange County, CA

            • ACFI (Assoc. of Certified Fraud Investigators) (2 MCLE units) Palm Desert, CA (co–presenter Manny Gonzales)

            • National League of Licensed Investigators, Ontario, CA (co–presenter Manny Gonzales)

                Orange County Chapter of the Association of Certified Fraud Examiners, Irvine, CA (co–presenter, Manny Gonzales)
            •
                Forensic
                The Annual Conference of Calif. Assoc. of Licensed Investigators – (CALI), Costa Mesa, CA (co–presenter, Manny
            •
                Gonzales)

            • San Diego Public Defenders (MCLE provider units; co–presenter, Manny Gonzales), Vista, CA

                Other presentations to San Diego Republican Women’s Club, Escondido Rotary, Escondido Chamber of Commerce,
            •
                Fallbrook Women’s Association, Forensic Expert Witness Association (FEWA San Diego Chapter)




                                                              Linda L Mitchell, D-ABFDE
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     Presentations to Colleagues
     Introduction to the Application of Practice Management Software for the FDE
             ASQDE Annual Scientific Session, Charleston, SC 2019 and AAFS Scientific Session 2020
     Discussion of research regarding the Reliability of the FDE to Identify Hand Printing
             AAFS – American Academy of Forensic Science Annual Scientific Session
             2017 and as part of a 6-hour Workshop on hand printing at AAFS 2020
     Arabic Signatures on American Documents; Are there Class Characteristics?
             AAFS – American Academy of Forensic Science Annual Scientific Session
             (Ron Morris, former USSS FDE presented on her behalf)
     Methods for Reassembling Crosscut Shredded Documents
             ASQDE Annual Scientific Session, Charleston, SC
             (presented on behalf of Larry A. Olson, Diplomate – ABFDE, IRS QD Lab, Chicago, IL)
     Training Requirements for the Forensic Document Examiner
             IAI, California Regional Education Conference, San Diego, CA (co–presenter, Manny Gonzales)
             IAI, International Educational Annual Conference (co–presenter, Manny Gonzales), Spokane, WA
     Computer–Generated Altered Document Detection
             SWAFDE, 30th Anniversary Meeting, Scottsdale, AZ
             IAI, International Educational Annual Conference (co–presenter, Manny Gonzales), Spokane, WA
     Onsite Infrared/Ultra Violet Examination of Questioned Documents
             SWAFDE Annual Scientific Session (co–presenter, Manny Gonzales), Los Angeles, CA

   Highlights of Approved Continuing Professional Education
           • AAFS – Annual Scientific Session attended 2007–2012, 2015–2020
           • ASQDE – Annual Scientific Meetings attended 2011–2015, 2017–2019
           • Texas A&M – Foundations of Fingerprint Comparison 2015
           • SWAFDE – Annual Conferences attended 2009–2016, 2018
           • NIST – Measurement Science Standards in Forensic Handwriting Analysis Conference 2013, 2015
           • ICAP – Annual Education Conference 2012
           • FBI/NIJ – Impression and Pattern Evidence Symposium 2012
           • Notary Public Mandatory Training 2012, 2016
           • IAI – Annual Scientific Meeting 2012
           • LCI – Methods of Latent Print and Crime Scene Processing 2009
           • Escondido Adult Education – Photoshop Applications 2009
           • ST2AR FDE Workshop 2008
           • SEAK – Expert Witness Conference 2007

     Following are full names represented by the acronyms above:

     AAFS – American Academy of Forensic Sciences, multi–disciplinary professional organization that provides leadership to
     advance science and its application to the legal system. Highly regarded among forensic experts; membership in FDE section is
     vetted.
     ASQDE – American Society of Questioned Documents Examiners, the oldest and largest organization in the world dedicated to
     the profession of forensic document examination. Strict membership requirements.
     SWAFDE – Southwestern Assoc. of Forensic Document Examiners, a regional FDE organization; membership is vetted.
     NIST – National Institute of Science and Technology
     ICAP – Inland Counties Association of Paralegals
     IAI – Int'l Assoc. for Identification, oldest & largest forensic assoc. in the world. Membership in QD section is vetted.
     LCI Services– Lewis Consulting and Investigative Training, Inc., a for–profit law enforcement training company.
     ST2AR – Skill Task Training Assessment Research, Inc., training, testing and research provided for a fee by ABFDE certified
     Forensic Document Examiners with the express goal of advancing the forensic sciences.
     SEAK – Skills, Education, Achievement, Knowledge, a for–profit continuing education, consulting & publishing company.




                                                         Linda L Mitchell, D-ABFDE
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Court Appearances within the last five years
   Year Court              Location                      Case #                 Judge                    Case No    Case Name
   2020   San Diego        State Aministrative Hearing   2019080369             Marion J. Vomhof         20-01291   SERVEY v. Miller
   2019   Riverside        Corona                        RIC1824736             Christopher B Harmon     19TJ0131   Sarah ALESSIO Trust
          Riverside        Palm Springs                  RIC1409788             Kira L Klatchko          19-09213   KORTSCH v. Correa
          Orange County    Santa Ana                     10DO11474              Salvadore Sarmiento      18MO0710   Marriage of HOLBURN
          Orange County    Santa Ana                     30-2017-900137         Linda S. Marks           18DL1210   Select Bank Card v. ROBINSON
   2018   San Diego        Downtown                      37-2017-45895          Gary Kreep               18CC1121   CIF v. RAY'S MARKET
          Los Angeles      Probate                       17STPB04135            Daniel Juarez            17JY0717   James North Estate
          Riverside        Probate                       RIP 1700678            Roger Luebs              18DW0604   Gabriel MUNOZ Estate
          San Diego        Downtown                      37-2017-6948           John S. Meyer            18IM0526   LA FORNARA v. Hurwitz
          San Diego        North County                  DN169793               Kelly C. Dowlan          18RM0511   HOLTEN v. Comerford
          Los Angeles      Stanley Mosk                  P588514                Maria E. Stratton        18ZS0626   Hickey Probate
          San Diego        Downtown                      DN 182625              David B. Overholtzer     16LH0610   Marriage of Sonoda
   2017   Los Angeles      Pasadena                      17PDUD00895            Annabelle Cortez         17DT1119   Liao v. YEH
          Riverside        Murrieta                      RIP 1500507            Angel Bermudez           15DT0821   Estate of Dena Sheets
          Los Angeles      Stanley Mosk                  BC 582814              Daniel S. Murphy         16LH1123   ACIC v Bryant Matter
   2016   Orange County    Santa Ana                     14D 01-03-50           Clay M. Smith            16JS1220   Marrage of Wiese
          Orange County    Santa Ana                     30-2015-00782508       David L. Belz            17SS0208   Allison BOLLINGER Matter
          Riverside        Family                        RID1500219             Charistopher B. Harmon   16RF0802   Carrie PYLE Matter
          Riverside        Family                        RID204171              Eric V. Isaac            16KP0204   NEELY v. Neely
          Orange County    Santa Ana                     30-2015-00782508       Mary Fingal Schulte      17SS0208   Allison BOLLINGER Matter
   2015   San Diego        Probate                       37-2013-00038575       Gregory W. Pollock       13JO0424   Sorensen v. TRAN
          Riverside        Downtown                      IND1500454             Omar Sterling            15GH0409   HANDZLIK Matter


11 Court Testimonies previous to 2015

Depositions within last five years
   Year Court              Location                      Case #                 Deposing Atty.           Case No    Case Name
   2019   Santa Monica     Donald Garrard Law Office     SC123911               Don Garrard              18RB0713   BERNEY v. Davis Plastering
          Riverside        Gresham Savage                RIC1824736             Stephanie Field          19TJ0131   Sarah ALESSIO Trust
          Tampa, FL        Awerbach & Cohn               18-000954-C1           Michael Cohn             19PG0225   GRAND HOPE v. Lake Ave. So.
          Los Angeles      Ludwig Klein Reporters        17STPB01362            Fred Soldewedel          18YB0910   Floyd ALLEN Trust
                                                                                                                    MEARS v. All Valley Home Health
          San Diego        Navigato & Battin             37-2017-00036946       Travis Bray              18SK0914
                                                                                                                    Care
   2018   San Bernardino   Marchetti Office              PROPS 1591002          Al Marchetti             16RA0126   Louia Reichmuth Estate
          San Diego        Browning Hocker               37-2017-6948           Robert N. Hocker         18IM0526   LA FORNARA v. Hurwitz
          San Diego        Opus Law Firm                 37-2016-26072          Michael Manley           16DG1018   Rose v. Murphy Family Trust
          San Diego        Opus Law Firm                 37-2016-26072          Charles Pernicka         16DG1018   Rose v. Murphy Family Trust
   2017   Los Angeles      Vanderpool Office             01-05-0002-4262        Doug Vanderpool          17MK0424   HELLER v. Martinez
          San Diego        Philip L. Hummel Office       37-2015-40474          Jason Quimby             17EB0420   THOMAS v. Purceil (OAW)
                           Oldman, Cooley, Sallus,                              Kasey Diba,
   2016   Encino                                         BC064049                                        15MP0912   Getz v. EDWARDS
                           Birnberg & Coleman                                   Mary-Felicia Apanius
          Riverside        Historic Courthouse Probate   RIP1500507             Scott Fridley            15DT0821   Estate of Dena Sheets

          Irvine           Lubin Olson & Niewiadomski RG14718709                Danielle Doremus Decker 16JS0218    Riverview v. CHHATRALA EDES

   2015   Los Angeles      Stanley Mosk Courthouse       BCBC517236             Ronald K. Giller         15WH0419 POSADA v. Quest Equity Fund
          San Diego        Vivoli Sacuzzo Law            37-2014-00005266       Michael Vivoli           14KT1107 Saunders v. CHHATRALA


3 Depositions Previous to 2015




                                                                      Linda L Mitchell, D-ABFDE
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                           Documents Examined




                               Exhibit B
                                                                   B-1
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              SWGDOC Standards for Examining Handwriting




                                Exhibit C
                                                                    C-1
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                                SWGDOC Standard for Examination of Handwritten Items


SWGDOC Standard for Examination of Handwritten Items
1. Scope
1.1 This standard provides procedures that should be used by forensic document examiners (SWGDOC Standard for
Scope of Work of Forensic Document Examiners) for examinations and comparisons involving handwritten items
and related procedures.
1.2 These procedures are applicable whether the examination and comparison is of questioned and known items or of
exclusively questioned items.
1.3 These procedures include evaluation of the sufficiency of the material (questioned, or known, or both) available
for examination.
1.4 The particular methods employed in a given case will depend upon the nature of the material available for
examination.
1.5 This standard may not cover all aspects of unusual or uncommon examinations of handwritten items.
1.6 This standard does not purport to address all of the safety concerns, if any, associated with its use. It is the
responsibility of the user of this standard to establish appropriate safety and health practices and determine the
applicability of regulatory requirements prior to use.
2. Referenced Documents
2.1 Standards:
ASTM E1732 Terminology Relating to Forensic Science
SWGDOC Standard for Scope of Work of Forensic Document Examiners
SWGDOC Terminology for Expressing Conclusions of Forensic Document Examiners
SWGDOC Terminology Relating to the Examination of Questioned Documents
3. Terminology
3.1 For definitions of terms in this standard, refer to Terminologies E1732 and SWGDOC Terminology Relating to
the Examination of Questioned Documents.
3.2 Definitions:
3.2.1 known, n/adj——of established origin associated with the matter under investigation. E1732
3.2.2 questioned, n/adj——associated with the matter under investigation about which there is some question,
including, but not limited to, whether the questioned and known items have a common origin. E1732
3.3 Definitions of Terms Specific to This Standard:
3.3.1 absent character, n—a character or character combination which is present in one body of writing but is not
present (for example, does not have a corresponding character) in another body of writing.
3.3.2 character, n—any language symbol (for example, letter, numeral, punctuation mark, or other sign), other
symbol, or ornament.
3.3.3 characteristic, n—a feature, quality, attribute, or property of writing.
3.3.4 comparable, n/adj——pertaining to handwritten items that contain the same type(s) of writing and similar
characters, words, and combinations. Contemporaneousness and writing instruments may also be factors.
3.3.5 distorted writing, n—writing that does not appear to be, but may be natural. This appearance can be due to
either voluntary factors (for example, disguise, simulation) or involuntary factors (for example, physical condition of
the writer, writing conditions).
3.3.6 handwritten item, n—an item bearing something written by hand (for example, cursive writing, hand printing,
signatures).
NOTE 1—As used in this standard “handwriting” and “handwritten” are generic terms. Writing is generally, but not
invariably, produced using the hand, and may be the result of some other form of direct manipulation of a writing or
marking instrument by an individual.
3.3.7 individualizing characteristics, n—marks or properties that serve to uniquely characterize writing.
3.3.7.1 Discussion—Both class characteristics (marks or properties that associate individuals as members of a group)
and individual characteristics (marks or properties that differentiate the individual members in a group) are
individualizing characteristics.
3.3.8 item, n—an object or quantity of material on which a set of observations can be made.
3.3.9 natural writing, n—any specimen of writing executed without an attempt to control or alter its usual quality of
execution.
3.3.10 range of variation, n—the accumulation of deviations among repetitions of respective handwriting
characteristics that are demonstrated in the writing habits of an individual. (See variation, 3.3.15).
3.3.11 significant difference, n—an individualizing characteristic that is structurally divergent between handwritten
items, that is outside the range of variation of the writer, and that cannot be reasonably explained.
3.3.12 significant similarity, n—an individualizing characteristic in common between two or more handwritten items.
3.3.13 sufficient quantity, n—that amount of writing required to assess the writer’s range of variation, based on the
writing examined.


ver. 2013-1                                                                                                      Page 1
Copyright by SWGDOC (all rights reserved); Wed Jan 14 13:26:05 CDT 2015
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3.3.14 type of writing, n—refers to hand printing, cursive writing, numerals, symbols, or combinations thereof, and
signatures.
3.3.15 variation, n—those deviations among repetitions of the same handwriting characteristic(s) that are normally
demonstrated in the habits of each writer.
Discussion—Since variation is an integral part of natural writing, no two writings of the same material by the same
writer are identical in every detail. Within a writer’s range of variation, there are handwriting habits and patterns that
are repetitive and similar in nature. These repetitive features give handwriting a distinctive individuality for
examination purposes. Variation can be influenced by internal factors such as illness, medication, intentional
distortion, etc. and external factors such as writing conditions and writing instrument, etc.
4. Significance and Use
4.1 The procedures outlined here are grounded in the generally accepted body of knowledge and experience in the
field of forensic document examination. By following these procedures, a forensic document examiner can reliably
reach an opinion concerning whether two or more handwritten items were written by the same person(s).
NOTE 2—The phrase “written by the same person(s)” refers to physical generation of the writing, not to intellectual
ownership of the content.
5. Interferences
5.1 Items submitted for examination may have inherent limitations that can interfere with the procedures in this
Standard. Limitations should be noted and recorded.
5.2 Limitations can be due to submission of non-original documents, limited quantity or comparability, or condition
of the items submitted for examination. Other limitations can come from the quantity or comparability of the writing
submitted, and include absent characters, dissimilarities, or limited individualizing characteristics. Such features are
taken into account in this standard.
5.3 The results of prior storage, handling, testing, or chemical processing (for example, for latent prints) may interfere
with the ability of the examiner to see certain characteristics. Whenever possible, document examinations should be
conducted prior to any chemical processing. Items should be handled appropriately to avoid compromising
subsequent examinations (for example, with clean cloth gloves).
5.4 Consideration should be given to the possibility that various forms of simulations, imitations, and duplications of
handwriting can be generated by computer and other means.
6. Equipment and Requirements
6.1 Appropriate light source(s) of sufficient intensity to allow fine detail to be distinguished.
NOTE 3—Natural light, incandescent or fluorescent sources, or fiber optic lighting systems are generally utilized.
Transmitted lighting, side lighting, and vertical incident lighting have been found useful in a variety of situations.
6.2 Magnification sufficient to allow fine detail to be distinguished.
6.3 Other apparatus as appropriate.
6.4 Imaging or other equipment for recording observations as required.
6.6 Sufficient time and facilities to complete all applicable procedures.
7. Procedure
7.1 All procedures shall be performed when applicable and noted when appropriate. These procedures need not be
performed in the order given.
7.2 Examinations, relevant observations, and results shall be documented.
7.3 At various points in these procedures, a determination that a particular feature is not present or that an item is
lacking in quality or comparability may indicate that the examiner should discontinue or limit the procedure(s). It is at
the discretion of the examiner to discontinue the procedure at that point and report accordingly or to continue with the
applicable procedures to the extent possible. The reasons for such a decision shall be documented.
7.4 Determine whether the examination is a comparison of questioned writing to known writing or a comparison of
questioned writing to questioned writing.
7.5 Determine whether the questioned writing is original writing. If it is not original writing, request the original.
NOTE 4—Examination of the original questioned writing is preferable.
7.5.1 If the original is not submitted, evaluate the quality of the best available reproduction to determine whether the
significant details of the writing have been reproduced with sufficient clarity for comparison purposes and proceed to
the extent possible. If the writing has not been reproduced with sufficient clarity for comparison purposes,
discontinue these procedures and report accordingly.
7.6 Determine whether the questioned writing appears to be distorted. If it appears to be distorted, determine whether
it is possible to establish that the apparently distorted writing is natural writing.
7.6.1 If it is not natural writing, or if it is not possible to establish whether the apparently distorted writing is natural
writing, determine whether the apparently distorted writing is suitable for comparison and proceed to the extent
possible. If the available questioned writing is not suitable for comparison, discontinue these procedures and report
accordingly.
7.7 Evaluate the questioned writing for the following:

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7.7.1 Type of Writing—If there is more than one type of writing within the questioned writing, separate the
questioned writing into groups of single types of writing.
7.7.2 Internal Consistency—If there are inconsistencies within any one of the groups created in 7.7.1 (for example,
suggestive of multiple writers), divide the group(s) into subgroups, each one of which is consistent.
7.7.3 Determine range of variation of the writing for each group or sub-group of the questioned writing created in
7.7.1 and 7.7.2.
7.7.4 Determine presence or absence of individualizing characteristics.
7.7.5 If the examination is a comparison of exclusively questioned writing, go to 7.12.
7.8 Determine whether the known writing is original writing. If it is not original writing, request the original.
NOTE 5—Examination of the original known writing is preferable.
7.8.1 If the original is not submitted, evaluate the quality of the best available reproduction to determine whether the
significant details of the writing have been reproduced with sufficient clarity for comparison purposes and proceed to
the extent possible. If the writing has not been reproduced with sufficient clarity for comparison purposes,
discontinue these procedures and report accordingly.
7.9 Determine whether the known writing appears to be distorted. If it appears to be distorted, determine whether it is
possible to establish that the apparently distorted writing is natural writing.
7.9.1 If it is not natural writing, or if it is not possible to establish whether the apparently distorted writing is natural
writing, determine whether the apparently distorted writing is suitable for comparison and proceed to the extent
possible. It should be determined whether additional known writing would be of assistance, and if so, it should be
requested. If the available known writing is not suitable for comparison, discontinue these procedures and report
accordingly.
7.10 Evaluate the known writing for the following:
7.10.1 Type of Writing—If there is more than one type of writing within the known writing, separate the known
writing into groups of single types of writing.
7.10.2 Internal Consistency—If there are unresolved inconsistencies within any of the groups created in 7.10.1 (for
example, suggestive of multiple writers), contact the submitter for authentication. If any inconsistencies are not
resolved to the examiner’s satisfaction, discontinue these procedures for the affected group(s), and report accordingly.
7.10.3 Determine range of variation of the writing for each group of the known writing created in 7.10.1 and 7.10.2.
7.10.4 Determine presence or absence of individualizing characteristics.
7.11 Evaluate the comparability of the bodies of writing (questioned writing to known writing or exclusively
questioned writing).
7.11.1 If the bodies of writing are not comparable, discontinue comparison and request comparable known writing, if
appropriate.
7.11.1.1 If comparable known writing is made available, return to 7.10. If comparable known writing is not made
available, discontinue these procedures and report accordingly.
7.12 Conduct a side-by-side comparison of comparable portions of the bodies of writing.
7.12.1 Determine whether there are differences, absent characters, and similarities.
7.12.2 Evaluate their significance individually and in combination.
7.12.3 Determine if there is a sufficient quantity of writing (questioned writing, or known writing, or both).
7.12.3.1 If writing (questioned writing, or known writing, or both) is not sufficient in quantity for an elimination or an
identification, continue the comparison to the extent possible. When appropriate, request more known writing. If
more known writing is made available, return to 7.10.
7.12.4 Analyze, compare, and evaluate the individualizing characteristics and other potentially significant features
present in the comparable portions of the bodies of writing.
NOTE 6—Among the features to be considered are elements of the writing such as abbreviation; alignment;
arrangement, formatting, and positioning; capitalization; connectedness and disconnectedness; cross strokes and dots,
diacritics and punctuation; direction of strokes; disguise; embellishments; formation; freedom of execution;
handedness; legibility; line quality; method of production; pen hold and pen position; overall pressure and patterns of
pressure emphasis; proportion; simplification; size; skill; slant or slope; spacing; speed; initial, connecting, and
terminal strokes; system; tremor; type of writing; and range of variation.
Other features such as lifts, stops and hesitations of the writing instrument; patching and retouching; slow, drawn
quality of the line; unnatural tremor; and standard lines of various forms should be evaluated when present.
Potential limiting factors such as age; illness or injury; medication, drugs or alcohol (intoxication or withdrawal);
awkward writing position; cold or heat; fatigue; haste or carelessness; nervousness; nature of the document, use of the
unaccustomed hand; deliberate attempt at disguise or auto-forgery should be considered.
For further details, see the referenced texts.
7.12.5 Evaluate the similarities, differences, and limitations. Determine their significance individually and in
combination.
7.13 Form a conclusion based on results of the above analyses, comparisons, and evaluations.

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8. Reporting Conclusions
8.1 The conclusion(s) or opinion(s) resulting from the procedures in this standard may be reached once sufficient
examinations have been conducted. The number and nature of the necessary examinations is dependent on the
question at hand.
8.2 The bases and reasons for the conclusion(s), or opinion(s), should be included in the examiner’s documentation
and may appear in the report.
8.3 Refer to SWGDOC Terminology for Expressing Conclusions of Forensic Document Examiners for reporting
conclusion(s) or opinion(s).
9. Keywords
9.1 forensic sciences; handwriting; questioned documents
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                          Supporting Commentary




                                Exhibit D
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                        Supporting Evidence and Commentary
         QDE Lab #: 20-02281.1
         Date: June 22, 2020

    Re: Abolafia v. Omni Hotels
        Case No: 29-CV-01923-W-KSC

                                BASIS AND REASONS FOR THE OPINION
      Handwriting/signature identification follows the principles that no two individuals share the same
 combination of handwriting characteristics, and that frequent repetitions of the writing act by individuals establish
 habit patterns that are observable and comparable.
      Two handwritings of the same individual must agree in every fundamental element and embody no basic
 differences. Conversely, if two writings contain significant differences in handwriting characteristics that cannot be
 accounted for, this writer cannot be identified.
      It is also necessary to consider that no person writing freely and naturally ever writes or signs in precisely the
 same way, referred to as natural variations in handwriting. These variations in one individual’s habit are part of the
 general patterns of the writer and are not “essential” or “fundamental” differences. The known writer, Allen
 Abolafia, has a wide range of variation in his signature. Upon examination, all the features present in the
 disputed signature appear in one or more of the sample comparison signatures except for the exaggerated
 terminal stroke. I cannot determine if this final flourish is intentional or accidental. Either way, this one difference
 does not represent a fundamental difference in the overall handwriting. Illustration 1 depicts a few of the sample
 signatures that contain these features.
      Writing then can be identified with its author if it reflects the writing habits of the author in kind and
 number, and when it can be compared and evaluated in connection with enough writing exemplars or
 standards of that individual. Anything less requires a qualified opinion. In this instance, I received sufficient
 samples to provide me with a solid basis for my current opinion.
      When evaluating questioned and known writings or cross-comparisons between unknown signatures,
 the forensic document examiner also weighs the significance of the formations of the letters, spelling, syntax,
 use of uppercase and lowercase forms and many other characteristics such as sizes, slants, and connecting
 strokes. Letterforms that are commonly used by many people are known as class characteristics; these are
 generally letters that conform to a system of writing taught in school or other patterns that may have developed
 among an ethnic or social subculture. Unique or rarely seen characteristics tend to be much more
 individualistic because they represent inventions or repetitive subconscious pen movements in a writer’s
 repertoire of letterforms.
       Such is the case for this questioned signature. This writer has created a stylized, abbreviated version of his
 alphabetical name using the letters of his name with tall ascenders – A, b, l, and f. Within the writing are subtle
 direction changes that are executed subconsciously and may represent one or more vowels. These tiny
 movements would be a challenge to accomplish if one were trying to simulate this writer’s signature successfully.
 Illustration 2 is an example of these small movements in the samples and the disputed signature.
       There are well-researched and documented indications of forgery that can occur within writing, such as
 a slowly drawn series of movements, patching, “forger’s tremor,” and other features that are observable as part
 of a physical evidence examination. The opposite applies in naturally made writings and signatures, where speed,
 fluidity, and consistent habit patterns are indications of genuineness. This writing contains the pressure patterns
 and fluidity of a genuine signer, familiar with the writing habits, including the identifiable subconscious direction
 changes. For reference, Illustration 3 is a composite of microscopic photos taken of the original signature which
 has the smooth, purposeful line quality of a genuine signature.



                                                                                                                D-2
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                                     ILLUSTRATION 1
                              features common to disputed signature




                                                                      Initial a stroke
                                                                      begins to the right of
                                                                      a vertical initial entry.
                Disputed Signature


                                Exaggerated final stroke(s)


                                Relative size of “bf” – first
                                one shorter than second




      The writer makes an extra upstroke before the ‘b’.
    The ‘A’ starts from the right before the upward
    entry.
    Note: Both the disputed signature and the one at
    the right begin with extra forward momentum
    causing the “A” downstroke to be written more to
    the right of the body, creating an open top.



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                                                                                     D-3
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                                    ILLUSTRATION 2
                                Two areas of subtle direction




                           Disputed Signature




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                                 ILLUSTRATION 3
                               composite of microscopic
                              photos taken of the original


    This was written with smooth
    flowing lines and connecting
    strokes suggesting the natural
    movement of genuine
    writing.




                                                                       4 OF 4
                                                                           D-5
